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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HELMERICH & PAYNE
INTERNATIONAL DRILLING CO.,

                       Plaintiff,
vs.
                                                      Case No. 1:11-cv-01735-CRC
BOLIVARIAN REPUBLIC OF
VENEZUELA, PETRÓLEOS DE
VENEZUELA, S.A., and PDVSA
PETRÓLEO, S.A.,

                        Defendants.



                 PLAINTIFF’S MOTION TO STAY ALL PROCEEDINGS

       Plaintiff Helmerich & Payne International Drilling Co. (“H&P-IDC”) appreciates this

Court’s efforts to avoid unnecessary delay in this litigation, which remains in the jurisdictional

phase more than seven years after the action was commenced. See Order, ECF No. 135. Due to

well-publicized circumstances beyond the parties’ control, however, some additional delay now

has become unavoidable. For that reason, H&P-IDC reluctantly asks the Court to stay all

proceedings and all obligations of all parties with respect to the above-captioned action for an

indefinite period, subject to a motion by any party to lift the stay for good cause shown. H&P-

IDC proposes to update the court every ninety days until the stay is dissolved. Counsel for

Defendants Petroleos de Venezuela, S.A. (“PDVSA”) and PDVSA Petróleo, S.A. (together, the

“PDVSA Defendants”) and counsel for Defendant Republic of Venezuela are unable to take any

position on behalf of their respective clients but in their own capacity make no objection to a stay.

       In the days since this Court entered its most recent scheduling order on January 10, 2019,

conditions in Venezuela have deteriorated substantially and a still-unresolved dispute has arisen

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as to what is the rightful government of the Republic and who is the rightful director of PDVSA.

Mr. Nicolas Maduro was reelected as President of Venezuela in May 2018, but the validity of the

election was widely contested, including by Venezuela’s National Assembly, the United States,

and international observers.1 Mr. Maduro’s second term officially began on January 10, 2019,

but on January 15, 2019, the National Assembly issued a Legislative Order nullifying the

election and calling for the President of the National Assembly, Juan Guaidó, to assume the

Presidency on a transitional basis until new elections can be held.2 On January 23, 2019, Mr.

Guaidó took the oath of office as interim President of Venezuela pursuant to Article 233 of

Venezuela’s Constitution.3 The United States, and a number of other governments, have now

recognized Mr. Guaidó as Venezuela’s interim President.4 On January 28, the United States

imposed a regime of sanctions on Defendant PDVSA that freezes PDVSA assets in the United

States and generally prohibits U.S. persons from providing services to or engaging in




                                                            
1
 William Neuman & Nicholas Casey, Venezuela Election Won By Maduro Amid Widespread Disillusionment, NEW
YORK TIMES (May 20, 2018), https://www.nytimes.com/2018/05/20/world/americas/venezuela-election.html.
2
 Mayela Armas & Corina Pons, Venezuela Congress Declares President Maduro ‘Usurper’ Of Democracy,
REUTERS (Jan. 15, 2019), https://www.cnbc.com/2019/01/15/reuters-america-update-2-venezuela-congress-declares-
president-maduro-usurper-of-democracy.html; see also Acuerdo Sobre La Declaratoria De Usurpación De La
Presidencia De La República Por Parte De Nicolas Maduro Moros Y El Restablecimiento De La Vigenciade La
Constitución (Jan. 15, 2019), http://www.asambleanacional.gob.ve/actos/_acuerdo-sobre-la-declaratoria-de-
usurpacionde-la-presidencia-de-la-republica-por-parte-de-nicolas-maduro-moros-y-el-restablecimiento-de-la-
vigenciade-la-constitucion.
3
 Anthony Faiola, Who Is Juan Guaidó?, THE WASHINGTON POST (January 24, 2019),
https://wapo.st/2Fo7Dxi?tid=ss_tw&utm_term=.ec6c6e7e7029; see also Press Statement, República Bolivariana De
Venezuela Asamblea Nacional, Juan Guaidó: Juro Asumir Formalmenta Las Competencias Del Ejecutivo Nacional
Como Presidente Encargado De Venezuela (Jan. 23, 2019), http://www.asambleanacional.gob.ve/noticias/_juan-
guaido-juro-asumir-formalmente]
4
  Statement from President Donald J. Trump Recognizing Venezuelan National Assembly President Juan Guaido as
the Interim President of Venezuela (Jan. 23, 2019), https://www.whitehouse.gov/briefings-statements/statement-
president-donald-j-trump-recognizing-venezuelan-national-assembly-president-juan-guaido-interim-president-
venezuela/; Press Statement, Secretary of State Michael R. Pompeo, Recognition Of Juan Guaidó As Venezuela’s
Interim President (Jan. 23, 2019), https://www.state.gov/secretary/remarks/2019/01/288542.htm; see also Press
Statement, Secretary of State Michael R. Pompeo, Recognition Of Juan Guaido As Venezuela’s Interim President By
Several European Countries (Feb. 4, 2019), https://www.state.gov/secretary/remarks/2019/02/288744.htm.

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transactions with PDVSA.5 On February 5, Mr. Guaidó indicated that he proposed to replace the

existing director of PDVSA with a nominee of his choosing, Gustavo Baquero.6

              By recognizing Mr. Guaidó, the United States implicitly derecognized the Maduro

government. See Nat’l Petrochemical Co. of Iran v. M/T Stolt Sheaf, 860 F.2d 551, 553 (2d Cir.

1988) (“a state derecognizes a governmental regime when it recognizes another regime as the

legitimate government of that state”); Restatement (Third) of Foreign Relations Law § 203

comment f (similar). This decision to recognize Mr. Guaidó and derecognize Mr. Maduro’s

government is “conclusive on all domestic courts” in the United States. Guar. Tr. Co. of New

York v. United States, 304 U.S. 126, 138 (1938). Nevertheless, courts “are free to draw for

themselves its legal consequences in litigations pending before them.” Id.

              At the present time, Mr. Maduro purportedly continues to control much of the

government despite the U.S. derecognition. Counsel of record for the Republic of Venezuela has

represented that due to the uncertain political situation, they have not been able to confirm

instructions from their client. They are thus not presently able to take positions for their client

either in the litigation or in settlement discussions, which have now been suspended.

              Until these issues are resolved, the uncertainty surrounding the leadership of Venezuela

and the PDVSA Defendants and the ability of counsel for those entities to represent them in the

near term makes it impracticable for this litigation to proceed on its present schedule. Counsel

for the Republic and counsel for the PDVSA Defendants have stated understandably that they

can take no position on Defendants’ behalf at the present time on any topic. Notably, on


                                                            
5
 Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions Venezuela’s State-Owned Oil Company Petroleos
De Venezuela, S.A. (Jan. 28, 2019), https://home.treasury.gov/news/press-releases/sm594.
6
 Venezuela's Guaido To Appoint Oil Industry Veteran Baquero As PDVSA President, S&P GLOBAL PLATTS (Feb. 5,
2019), https://www.spglobal.com/platts/en/market-insights/latest-news/oil/020519-venezuelas-guaido-to-appoint-
oil-industry-veteran-baquero-as-pdvsa-president-sources.

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February 12, Venezuela also sought a stay of proceedings in unrelated litigation before the U.S.

Court of Appeals for the District of Columbia Circuit, in which counsel for Venezuela in that

case represented to the court that “President Guaidó’s government has instructed [counsel] to file

this motion [for stay].”7 Here, a stay is also appropriate because, as recognized by another

district court almost 70 years ago, a case cannot meaningfully progress if Defendants are unable

to fully participate due to domestic unrest and changes in government. See Bank of China v.

Wells Fargo Bank & Union Tr. Co., 92 F. Supp. 920, 924 (N.D. Cal. 1950) (“A Court cannot

justly rule while a controversy is raging … Particularly is this so when events are colored by

problems of governmental recognition.”).8 And it would be inequitable to require H&P-IDC to

respond to pending discovery requests while neither the PDVSA Defendants nor Venezuela are

able to satisfy their discovery obligations, or able to take authorized positions with respect to

requests to narrow or modify the pending discovery.

              In consideration of the significant issues raised by the derecognition of the Maduro

government and the recognition of Mr. Guaidó as President of Venezuela, H&P-IDC requests

that the Court stay all proceedings and all obligations of all parties, subject to motion by any

party to dissolve the stay for good cause shown. H&P-IDC further requests that the Court direct

H&P-IDC to submit status reports every 90 days until such time as the stay is dissolved.

Counsel for the PDVSA Defendants and counsel for Defendant Venezuela state that they are

unable to take any position on behalf of their respective clients, but that counsel in their own

capacities have no objection to a stay.



                                                            
7
     Rusoro Mining Ltd. v. Bolivarian Rep. of Venezuela, No. 18-7044, Dkt. 1773036 (Feb. 12, 2019) (D.C. Cir.).
8
  In Bank of China, the Court entered a stay in the face of a dispute over the rightful government of China, and was
able to dissolve it and decide the case two years later. Plaintiffs are hopeful the present lack of clarity in Venezuela
can be resolved much more quickly. 

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Dated: February 14, 2019            Respectfully submitted,

                                    /s/ David W. Ogden ______________
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                                    David W. Bowker (D.C. Bar No. 989309)
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